             Case 17-50329-KKS   Doc 215   Filed 02/14/23   Page 1 of 3




                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

IN RE:                                     CASE NO. 17-50329-KKS
Dirk E Shores
Lisa M Shores                              CHAPTER 7

           Debtor(s)
___________________________/


      TRUSTEE'S NOTICE OF FINAL DIVIDENDS TO CREDITORS

      The trustee herein files this Notice of Dividends to the creditors of

this estate. Attached hereto is the Trustee's Final Dividend made to

creditors.

      The dividend checks were mailed to creditors on 2/14/2023.

If checks are not cashed within 90 days by the creditors, all remaining

funds will be deposited into the registry of the Court pursuant to

F.R.B.P. 3009.

Dated: February 14, 2023               /s/ 0DU\:&ROyQ
                                       0DU\:&ROyQ
                                       Chapter 7 Trustee
                                       PO Box 14596
                                       Tallahassee, FL 32317
                                       (850) 241-0144
                                       trustee@marycolon.com
           Case 17-50329-KKS     Doc 215       Filed 02/14/23    Page 2 of 3




                         TRUSTEE'S FINAL DIVIDENDS

BALANCE ON HAND                                                     $          35,362.82

CHAPTER 7 ADMINISTRATIVE EXPENSES  D                                      Dividend
0DU\:&ROyQ, Trustee Compensation                                 $           4,300.00
0DU\:&ROyQ, Trustee Expenses                                     $            960.71
Thomson Brock Luger & Company, Accountant for Trustee
Fees (Other Firm)                                                   $           1,025.00
Thomson Brock Luger & Company, Accountant for Trustee
Expenses (Other Firm)                                               $             70.00


REMAINIG BALANCE ON HAND                                            $          29,007.11

CHAPTER 11 ADMINISTRATIVE EXPENSES  D                                     Dividend


REMAINIG BALANCE ON HAND                                            $          29,007.11

CLAIMS OF GOVERNMENTAL UNITS: Dividend 47.80%
Claim #     Creditor                                            Allowed         Dividend
1           Internal Revenue Centralized             $          808.07 $         386.25
            Insolvency

*(1(5$/816(&85(' $  : Dividend 49.14%
Claim #     Creditor                                            Allowed         Dividend
2           Tyndall Federal Credit Union             $     15,157.54 $          7,447.93
3           Jackson County Teachers Credit           $      2,280.82 $          1,120.72
            Union
5           Jackson County Teachers Credit           $     32,826.12 $         16,129.70
            Union
7           MIDLAND FUNDING LLC                      $          399.77 $         196.43
9           American Express Bank, FSB               $      1,011.87 $           497.20
10          Quantum3 Group LLC as agent for          $          427.82 $         210.22
11          Ashley Funding Services, LLC its         $      2,033.00 $           998.95
            successors and
12          Ashley Funding Services, LLC its         $      1,613.00 $           792.58
            successors and
14          TD Bank USA, N.A.                        $          741.45 $         364.32
         Case 17-50329-KKS   Doc 215   Filed 02/14/23   Page 3 of 3




15       Sallie Mae                          $      1,755.93 $        862.81


REMAINING BALANCE ON HAND                                      $        0.00
